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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF FLORIDA
                               FORT LAUDERDALE DIVISION

                             CASE NO. 22-61477-CIV-BECERRA/VALLE

 DEVIN GRANDIS,

                Plaintiff,
 v.

 BGIS GLOBAL INTEGRATED SOLUTIONS US LLC,

             Defendant.
 _____________________________________/

              JOINT STIPULATION REGARDING NET WORTH DOCUMENT(S)

        Pursuant to Rule 26(C) of the Federal Rules of Civil Procedure, the parties in the above-

 captioned case (the “Litigation”) have stipulated and agreed, subject to the approval and order of

 this Court, that the following Joint Stipulation Regarding Net Worth Documents (“Stipulation”)

 shall govern the handling of certain financial information produced during discovery, however

 produced, disclosed, or made available. Plaintiff, Devin Grandis (“Grandis”) and Defendant, BGIS

 Global Integrated Solutions US LLC (“BGIS”), jointly stipulate as follows:

 1.     Scope: This Stipulation shall govern the handling of documents, deposition testimony,

 deposition exhibits, interrogatory responses, responses to requests for production of documents,

 admissions, and any other information produced by BGIS in response to Plaintiff’s Written

 Discovery Requests Related to Punitive Damages regarding BGIS’s net worth (“Net Worth

 Material”).

 2.     Definitions

        (a)     “Party” means a named party in the Litigation (and with other Parties, the

 “Parties”), including any Party’s officers, directors, employees, consultants, retained experts, and




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 outside counsel (and their support staff), including parties that may be added to the Litigation after

 the date of the entry of a Court order adopting this Stipulation.

        (b)      “Confidential    Material”    means     Net     Worth    Material    designated    as

 CONFIDENTIAL.

 3.     Confidential Information

        (a)     Basis for Designation of Information as CONFIDENTIAL. BGIS may designate

 Net Worth Material as CONFIDENTIAL based upon a good faith belief that the information

 constitutes or contains information that is CONFIDENTIAL.

        (b)     Documents and Non-Written Material.            Documents and responses to written

 discovery requests and non-written material (such as computer drives and discs) relating to Net

 Worth Material shall be designated as CONFIDENTIAL by stamping or labeling them with the

 word “CONFIDENTIAL” in a manner that will not interfere with the legibility of the document

 or response.

        (c)     Deposition Testimony.

                (i)     Deposition testimony or other pre-trial testimony (including exhibits)

 regarding Net Worth Material may be designated as CONFIDENTIAL at the deposition (1) by a

 statement to such effect on the record during the deposition that designates the specific testimony

 and documents that constitute Confidential Material, or (2) by written notice served on counsel of

 record in the Litigation provided not less than thirty days after receiving a copy of the deposition

 by identifying by page and line number and exhibit number the testimony and documents that

 constitute Confidential Net Worth Material.

                (ii)    For any deposition transcript in which any portion of the testimony has been

 designated as CONFIDENTIAL because it relates to Confidential Net Worth Material, the court




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 reporter shall imprint the word “CONFIDENTIAL” on each page of the original deposition

 transcript so designated and shall seal those pages of the original transcript in a separate envelope

 from those pages of the original transcript which have not been so designated. All portions of

 deposition transcripts not designated as CONFIDENTIAL shall be deemed not confidential.

                (iii)   The failure to designate any document, information, or testimony relating

 to any Net Worth Material as CONFIDENTIAL shall not waive any claim of confidentiality. BGIS

 may, at any time prior to the start of trial, designate any Net Worth Material—in whole or in part—

 as CONFIDENTIAL by providing to all Parties both written notice and an additional copy of the

 Net Worth Material marked with the appropriate CONFIDENTIAL designation.

 4.     Use of Confidential Information

        (a)     Any person having access to Confidential Net Worth Material shall use it only for

 the purposes of this Litigation (including appeals); shall not disclose it to anyone other than those

 persons designated herein; and shall handle it in the manner set herein.

        (b)     Confidential Material shall be viewed by, or otherwise disclosed to, only counsel

 of record for the Parties, and, for BGIS, in-house counsel, and witnesses, including any expert

 witness on the issue of net worth, who are asked questions about the Confidential Net Worth

 Material or BGIS’s net worth, either in depositions or at trial. Plaintiff may be present at any

 deposition in which Confidential Net Worth Material may be disclosed but may not receive a copy

 of any Confidential Net Worth Material. Prior to receipt and review of any Confidential Material

 by an expert witness, Plaintiff’s counsel shall provide a copy of this Joint Stipulation and order

 approving same to the expert witness, who shall agree in writing to be bound by the terms of this

 Joint Stipulation approved by the Court.




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         (c)     If any of the Parties files with the Court any Confidential Net Worth Material or

 any documents containing information derived from any Confidential Net Worth Material, the

 Party shall file such material or documents pursuant to Rule 5.4 of the Local Rules of the Southern

 District of Florida.

         (d)     If Plaintiff offers into evidence Confidential Net Worth Material         previously

 marked “CONFIDENTIAL” at trial, such documents shall continue to be marked as

 “CONFIDENTIAL,” and in the event of an appeal, any Party seeking to make such documents

 part of the record on appeal shall comply with Federal Rule of Appellate Procedure 25 and Rules

 25-3(h) and 25-5 of the Eleventh Circuit Court of Appeals.

 5.      Challenging a Designation

         Plaintiff may challenge the designation of any Confidential Net Worth Material as

 CONFIDENTIAL, in good faith, and must confer directly with counsel for BGIS before making

 any motion to the Court. In conferring, Plaintiff will provide a reasonable basis for its belief that

 the confidentiality designation was not proper and must give BGIS an opportunity to review the

 designated material, to reconsider the circumstances, or to explain the basis for the chosen

 designation. Plaintiff may proceed to the next stage by filing a motion to exclude the designated

 information from this Stipulation only if Plaintiff has engaged in this meet-and-confer process

 first. BGIS shall have the burden of persuasion in any such challenge proceeding. Plaintiff waives

 its right to challenge confidentiality designation by electing not to mount a challenge prior to date

 set for trial. Notwithstanding the aforementioned, in the event that BGIS designates any Net Worth

 Material as CONFIDENTIAL within ten (10) days of the date set for trial, Plaintiff expressly

 maintains the right to challenge that designation at any time prior to the end of trial. Regardless of

 whether Plaintiff challenges the designation of Confidential Net Worth Material as




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 CONFIDENTIAL at trial, Plaintiff may nonetheless use the Confidential Net Worth Material at

 trial, as permitted by the Court, provided that Plaintiff must comply with 4(c) and 4(d) above.

 6.     Continued Application

        The provisions of this Stipulation shall, absent written permission of BGIS or further order

 of the Court, continue to be binding throughout and after the conclusion of the Litigation, including

 any appeals therefrom.

 7.     Conclusion of Action

        Unless earlier ordered by the Court, all Confidential Material, including any copies thereof

 and summaries or descriptions thereof contained in other documents, shall be returned to counsel

 for BGIS or destroyed by Plaintiff no later than 60 days after the conclusion of this Action by

 settlement, judgment without appeal, or issuance of a mandate by an appellate court. If Plaintiff

 elects to destroy, rather than return, Confidential Material, Plaintiff must provide written

 confirmation of such destruction to BGS.

 8.     Court Testimony

        The Parties agree to cooperate in preserving the status of Confidential Material, through

 use in any court proceeding in the Litigation or any appeal therefrom. Any dispute over the use of

 Confidential Material at trial shall be adjudicated by the Court.

 9.     Disclosure of CONFIDENTIAL INFORMATION in Other Actions

        In the event that a person (the “recipient”) subject to this Stipulation receives a subpoena

 related to another action that seeks the production of the Confidential Net Worth Material provided

 pursuant to this Stipulation, the recipient shall, within not more than five (5) calendar days, provide

 notice to BGIS of such subpoena. To the extent permitted by law, the recipient shall not produce

 the Confidential Information at issue for at least fifteen (15) days from the date the recipient




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 receives the subpoena and shall cooperate fully, at the expense of BGIS, with any effort by BGIS

 to contest the subpoena.

         WHEREFORE, the parties request the Court to enter the attached order that approves this

 stipulation.

                                     Respectfully Submitted,

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                                    CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that, on June 12, 2024, a true and correct copy of the foregoing

 Joint Stipulation was filed via the CM/ECF system, which will serve a true and correct copy of the

 same to all attorneys of record.


                                                             By:    /s/ Paul Aiello




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